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                          SUPPLEMENTAL MINUTE BOOK
                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION

Court convened at 1:20 p.m. on December 11, 2019, and recessed at 1:30 p.m.

PRESENT:      Mark L. Hornsby, Magistrate Judge, Presiding
              Jill Keller, Minute Clerk
              Recorded: Liberty Court Recorder CR3
              Time in Court: 10 minutes

                        5:18-SM-00300 GRAND JURY REPORT

 X Partial Report
 X Warrants/summons ordered issued as indicated.

                                   OPEN INDICTMENTS

CASE NUMBER                             WARRANT                        SUMMONS

1:19-cr-00382-01***                       X/WRIT

1:19-cr-00387-01                                                              X

3:19-cr-00383-01***                       X/WRIT

3:19-cr-00385-01*                            X

5:19-cr-00171-01**                           X

5:19-cr-00384-01                                                              X

5:19-cr-00384-02                                                              X

5:19-cr-00386-01*                            X


                                 SEALED INDICTMENTS




  * In Federal Custody
 ** Superseding Indictment
*** State Custody
